Case 8:19-cv-02326-DOC-ADS Document 114-3 Filed 04/06/22 Page 1 of 4 Page ID
                                 #:1984




              Exhibit 3
Case 8:19-cv-02326-DOC-ADS Document 114-3 Filed 04/06/22 Page 2 of 4 Page ID
                                 #:1985


1                      UNITED STATES DISTRICT COURT
2                    CENTRAL DISTRICT OF CALIFORNIA
3
4    IN RE MERIT MEDICAL SYSTEMS,                No. 8:19-cv-02326-DOC-ADS
     INC., SECURITIES LITIGATION
5
6                                                [PROPOSED] ORDER
                                                 APPROVING PLAN OF
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                                                 ALLOCATION OF NET
8                                                SETTLEMENT FUND
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                                         ORDER APPROVING PLAN OF ALLOCATION
Case 8:19-cv-02326-DOC-ADS Document 114-3 Filed 04/06/22 Page 3 of 4 Page ID
                                 #:1986


 1        This matter came on for hearing on April 13, 2022 (the “Settlement Hearing”)
 2 on Lead Plaintiffs’ motion to determine whether the proposed plan of allocation of the
 3 Net Settlement Fund (“Plan of Allocation”) created by the Settlement achieved in the
 4 above-captioned class action (the “Action”) should be approved. The Court having
 5 considered all matters submitted to it at the Settlement Hearing and otherwise; and it
 6 appearing that notice of the Settlement Hearing substantially in the form approved by
 7 the Court was mailed to all Settlement Class Members who or which could be
 8 identified with reasonable effort, and that a summary notice of the hearing
 9 substantially in the form approved by the Court was published in Investor’s Business
10 Daily and was transmitted over the PR Newswire pursuant to the specifications of the
11 Court; and the Court having considered and determined the fairness and
12 reasonableness of the proposed Plan of Allocation,
13        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
14        1.     This Order approving the proposed Plan of Allocation incorporates by
15 reference the definitions in the Stipulation and Agreement of Settlement dated
16 December 21, 2021 (ECF No. 105-1) (the “Stipulation”) and all capitalized terms not
17 otherwise defined herein shall have the same meanings as set forth in the Stipulation.
18        2.     The Court has jurisdiction to enter this Order approving the proposed Plan
19 of Allocation, and over the subject matter of the Action and all parties to the Action,
20 including all Settlement Class Members.
21        3.     Notice of Lead Plaintiffs’ motion for approval of the proposed Plan of
22 Allocation was given to all Settlement Class Members who could be identified with
23 reasonable effort. The form and method of notifying the Settlement Class of the
24 motion for approval of the proposed Plan of Allocation satisfied the requirements of
25 Rule 23 of the Federal Rules of Civil Procedure, the United States Constitution
26 (including the Due Process Clause), the Private Securities Litigation Reform Act of
27 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law and rules,
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                                               ORDER APPROVING PLAN OF ALLOCATION
Case 8:19-cv-02326-DOC-ADS Document 114-3 Filed 04/06/22 Page 4 of 4 Page ID
                                 #:1987


 1 constituted the best notice practicable under the circumstances, and constituted due
 2 and sufficient notice to all persons and entities entitled thereto.
 3         4.    Copies of the Notice, which included the Plan of Allocation, were mailed
 4 to over 25,000 potential Settlement Class Members and nominees. There are no
 5 objections to the Plan of Allocation.
 6         5.    The Court hereby finds and concludes that the formula for the calculation
 7 of the claims of Claimants as set forth in the Plan of Allocation mailed to Settlement
 8 Class Members provides a fair and reasonable basis upon which to allocate the
 9 proceeds of the Net Settlement Fund among Settlement Class Members with due
10 consideration having been given to administrative convenience and necessity.
11         6.    The Court hereby finds and concludes that the Plan of Allocation is, in all
12 respects, fair and reasonable to the Settlement Class.
13         7.    There is no just reason for delay in the entry of this Order, and immediate
14 entry by the Clerk of the Court is expressly directed.
15
16         SO ORDERED this _______ day of ______________, 2022.
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19                                               The Honorable David O. Carter
20                                                United States District Judge

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                                                ORDER APPROVING PLAN OF ALLOCATION
